          Case 2:05-cr-00090-MCE Document 127 Filed 10/30/06 Page 1 of 3


1
2
3
4
5
6
7
8                         UNITED STATES DISTRICT COURT
9                      EASTERN DISTRICT OF CALIFORNIA
10                                ----oo0oo----
11   UNITED STATES OF AMERICA,
                                            NO. CR. S-05-090 WBS
12             Plaintiff,
13        v.                                ORDER RE: DEFENDANT OSBORN’S
                                            MOTION FOR SEVERANCE
14   HUGO L. RAMIREZ,
     ROBERT OSBORN,
15   JOSHUA ROGERS, and
     JAYSON B. EDWARDS,
16
               Defendants.
17
18                               ----oo0oo----
19             Defendant Osborn’s motion for severance is based upon
20   the ground that because the evidence will be stronger against his
21   co-defendant than it will be against him the jury may find him
22   guilty by association.    Under the circumstances in this case,
23   this is not a sufficient reason to grant defendant’s motion.
24             Rule 14 of the Federal Rules of Criminal Procedure
25   provides that
26        if the joinder of offenses or defendants in an indictment,
          an information, or a consolidation for trial appears to
27        prejudice a defendant or the government, the court may order
          separate trials of counts, sever the defendants’ trials, or
28        provide any other relief that justice requires.

                                        1
          Case 2:05-cr-00090-MCE Document 127 Filed 10/30/06 Page 2 of 3


1    The mere fact that the defendant may stand a better chance of
2    acquittal or that his co-defendant may be more culpable is not
3    enough to require severance.     United States v. Baker, 10 F.2d
4    1374 (9th Cir. 1993).
5              This case does not appear to be particularly complex.
6    The charges are relatively simple, and it does not appear that
7    the trial will last very long.     Generally, “defendants jointly
8    charged are to be jointly tried.”      United States v. Ramirez, 710
9    F.2d 535, 545 (9th Cir. 1983).     “A joint trial is particularly
10   appropriate where the co-defendants are charged with conspiracy.”
11   United States v. Fernandez, 388 F.3d 1199, 1242 (9th Cir. 1999).
12   Osborn has presented no compelling argument to persuade the court
13   to depart from this general principle here.       The court can
14   effectively deal with Osborn’s concerns through proper
15   instructions to the jury that they are to consider the evidence
16   as against each defendant on each count separately.
17             Additional factors to be considered here include the
18   prejudice to the government and potential danger to at least one
19   witness if defendants were to be severed for separate trials.
20   Several witnesses would be inconvenienced if they were required
21   to testify at two separate trials.      More importantly, the
22   government represents that one of the witnesses’ identity is
23   being protected because of the concern that associates of the
24   defendants who are still at liberty and have been involved in a
25   double homicide may pose a threat to that witness.        If that
26   witness were required to testify and reveal his/her identity
27   before the second trial, it could pose a danger to that witness’
28   safety.

                                        2
            Case 2:05-cr-00090-MCE Document 127 Filed 10/30/06 Page 3 of 3


1                The court can understand Osborn’s desire to be tried
2    sooner than his co-defendant wishes to be tried, but that is not
3    a proper ground for severance.       Because of the pending motions,
4    and the schedule which has been agreed upon to brief and hear
5    those motions, a joint trial of both defendants on March 20,
6    2007, as presently scheduled, will not violate the Speedy Trial
7    Act.   See 18 U.S.C. § 3161(h)(1)(F).       Osborn has not met his
8    burden of showing that the joinder of these defendants for trial
9    would be “so manifestly prejudicial that it outweigh[s] the
10   dominant concern of judicial economy.”        United States v. Monks,
11   774 F.2d 945, 948 (9th Cir. 1985)(quoting United States v.
12   Armstrong, 621 F.2d 951, 954 (9th Cir. 1980)).          A joint trial is
13   the most efficient, fair, and sensible way to proceed in this
14   matter.
15               IT IS THEREFORE ORDERED that defendant Osborn’s Motion
16   to Sever Defendants for trial be, and the same hereby is, DENIED.
17   DATED:    October 27, 2006
18
19
20
21
22
23
24
25
26
27
28

                                          3
